Case 2:03-cV-02878-.]P|\/|-de Document 40 Filed 04/25/05 Page 1 of 2 Page|D 50

IN THE UNITED sTATEs DIsTRIcT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE ?:H:>
wEsTERN DIVISION

 

USRFHZ§ §Hiv h

AMERICAN PIONEER TITLE
INSURANCE COMPANY,

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CLEWQE)S.Di \Jf
W.D. {”)F TN, i\r;’L.~.'-.HF“HIS
Plaintiff,
V- Nb. 03-2878 Ml/V
VERMA Y. PINKNEY,
BASIL S. BUCHANAN and
GARY L. JEWEL,
Defendants.
GARY L. JEWEL,
Third-Party Plaintiff,

‘V'¢

AMSOUTH BANK,

v\_¢\_¢vvvvvh_¢\.{vvvvvv\_¢vvvvv

Third-Party Defendant.

 

ORDER SETTING TELEPHONE CONFERENCE

 

The Court will hold a telephone conference on Wednesday¢ May
44 2005, at 8:45 a.m. to discuss the joint motion to Set a new
echeduling order in this Case. Plaintiff’e counsel Shall
initiate the telephone conference by contacting the Court with

all of the parties on the line.

IT IS 50 oRDERED this 352 day of April, 2005.

QM\‘OML

J N PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

    
 

Th|s document entered on the dockets 9
with ama 58 and/or 79(3) FRCP nn __

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 40 in
case 2:03-CV-02878 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honcrable Jon McCalla
US DISTRICT COURT

